
In re Bissett, Sandra G.; — Plaintiff(s); applying for writ of certiorari and/or review; to the Court of Appeal, First Circuit, No. CA88 2003; Parish of East Baton Rouge, 19th Judicial District Court, Div. “G”, No. 259126.
Prior report: La.App., 560 So.2d 884.
Granted. Judgment of the court of appeal is reversed as to the finding that the suit was abandoned as to defendant Renee Hegwood Sparks for the reasons assigned by Judge Shortess in his dissenting opinion. Suit is not abandoned as to this defendant. In all other respects, the judgment of the court of appeal is affirmed. The case is remanded to the district court for further proceedings.
